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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:20−cr−00299
                                                         Honorable Robert M. Dow Jr.
Hardy Lee Browner
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 3, 2020:


         MINUTE entry before the Honorable Robert M. Dow, Jr.as to Hardy Lee
Browner: By agreement of the parties, status hearing is set for 8/14/2020 at 9:30 a.m.
Please use the Court's toll−free call−in number 8773361829, conference access code is
6963747. Without objection, time is excluded through 8/14/2020 under the Speedy Trial
Act, 18 U.S.C. §3161(h)(7)(A) based on the Court's finding that the ends of justice served
by the exclusion of time outweigh the interests of the parties and the public in a speedy
trial given the need to protect the health and safety of defendants, defense counsel,
prosecutors, court staff, and the public by reducing the number of in−person hearings to
the greatest extent possible. Mailed notice (cdh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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